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                              CONFIRMATION 1000310


          PHILIP R MCHUGH                                                       A 2003792
               vs.
      FIFTH THIRD BANCORP



       FILING TYPE: INITIAL FILING (IN COUNTY) WITH JURY
                            DEMAND
                                           PAGES FILED: 8




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                                          COURT OF COMMON PLEAS
                                          HAMILTON COUNTY, OHIO


            Philip R. McHugh                             ) Case No.
            8000 Finley Lane                             )
            Cincinnati, OH 45242,                        )
                                                         )
                                 Plaintiff,              )
                                                         )
                 v.                                      )
                                                         )
            Fifth Third Bancorp                          ) COMPLAINT WITH JURY DEMAND
            38 Fountain Square Plaza                     ) ENDORSED HEREON
            Cincinnati, OH 45263,                        )
                                                         )
                 and                                     ) [John J. McHugh, III (0019750)
                                                         ) 5580 Monroe Street
            Fifth Third Bank, N.A.                       ) Sylvania, Ohio 43560
            38 Fountain Square Plaza                     ) Telephone: (419) 885-3597
            Cincinnati, OH 45263,                        ) Facsimile: (419) 885-3861
                                                         ) Email: mchugh@mchughlaw.com
                 and                                     ) Attorney for Plaintiff]
                                                         )
            Gregory D. Carmichael                        )
            c/o Fifth Third Bank                         )
            38 Fountain Square Plaza                     )
            Cincinnati, OH 45263,                        )
                                                         )
                                 Defendants.             )



                         For his Complaint against defendants for wrongful termination of employment in

           violation of Title 41, and particularly Section 4112.02(A) and (L), of the Ohio Revised Code,

           plaintiff Philip R. McHugh ("McHugh") says that:




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                          1.      He is a resident of Cincinnati, Ohio; a citizen of the State of Ohio, and until

           October 16, 2020, was employed as the Executive Vice President of Fifth Third Bank, reporting

           directly to Gregory D. Carmichael, its President, Chief Executive Officer, and Chairman of the Board

           of Fifth Third Bancorp ("Carmichael").

                          2.      Fifth Third Bancorp is a diversified financial services company with its

           principal place of business in Cincinnati, Ohio, and is the parent company of Fifth Third Bank.

                          3.      Fifth Third Bank, N.A. is now a federally chartered bank, now regulated by

           the Office of the Comptroller of the Currency, and is engaged principally in Commercial Banking,

           Branch Banking, Consumer Lending, and Wealth and Asset Management. It is one of the largest

           such banks in the United States, and engages in its business activities in Ohio, Michigan, Indiana,

           Illinois, Kentucky, West Virginia, Tennessee, North Carolina, Georgia and Florida. As a qualifying

           Ohio employer, it is subject to Chapter 4112 of the Ohio Revised Code and is prohibited from

           engaging in age discrimination in employment.

                          4.      Carmichael is, upon information and belief, a resident of Cincinnati, a citizen

           of the State of Ohio, and the incumbent Chairman of the Board, President and Chief Executive

           Officer of Fifth Third Bancorp, having held such position since January, 2018. Carmichael began

           his career with Fifth Third in 2003, and has held various executive management positions at the

           bank, including Chief Information Officer, Chief Operating Officer, and President and CEO. At all

           times relevant herein, Carmichael was McHugh's manager.

                          5.      Carmichael has been a director of the Bank since 2015, and presently serves

           on ten of the eleven committees of the Board.

                          6.      According to the Fifth Third Bancorp 2020 Proxy Statement, the average

           annual Chief Executive Officer compensation for 2017-2019 was nearly $10,000,000.00.

                          7.      Venue is appropriate in Hamilton County, Ohio as the events giving rise to

           the Complaint occurred there.




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                          8.      McHugh, now fifty-six (56) years of age, began his career with Fifth Third

           Bank in Cincinnati in October, 1986. In April, 1994 the Bank requested him to move to Louisville,

           Kentucky to build the Trust and Investment Division of its then newly acquired affiliate. In March,

           2001, he was promoted to run the Commercial Division of the Louisville Affiliate, and in December,

           2005, was named President and CEO of Fifth Third Louisville with full responsibility for all

           business and staff functions.

                          9.      In January, 2010, Carmichael, then the Bank's Executive Vice President and

           Chief Operating Officer, requested that McHugh return to Cincinnati to lead the Fifth Third Private

           Bank, Trust and Investment Division. During his tenure then and there, the Trust and Investment

           Division substantially grew its assets, revenue, and net income.

                          10.     In April, 2017, Carmichael, then Bank Chief Executive Officer and President,

           requested that McHugh become head of Fifth Third's Consumer Bank, which included full

           responsibility for Retail Banking, Mortgage Lending, Business Banking for companies with less than

           $20.0 million in annual revenues, and for indirect auto lending. Later that year, in December,

           Carmichael reassigned additional responsibility to McHugh, charging him with oversight of the

           Wealth and Asset Management division of the Bank.

                          11.     In August, 2018, Carmichael, in his first year as Board Chairman, assigned

           McHugh responsibility for leadership of all fourteen of the Bank's regional presidents, noting that

           this additional assignment involved a much larger role, greater responsibility, and a more significant

           impact on Fifth Third Bank. The advance now gave McHugh responsibility for Business Banking,

           Wealth and Asset Management, as well as Regional Banking.

                          12.     At that time, Carmichael appointed Timothy N. Spence ("Spence"),

           succeeding McHugh, to be head of the Consumer Bank, but McHugh kept Business Banking, Wealth

           and Asset Management, and overall responsibility for Regional Banking.




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                          13.     In late June, 2019, Carmichael delegated further responsibility to McHugh,

           directing that he accept the Public Relations and Community and Economic Development Groups,

           as well as retaining all prior assignments.

                          14.     In each and every successive position at Fifth Third Bank, McHugh excelled

           in his performance, and was rewarded with additional compensation, greater responsibility and a

           higher profile within the Bank. At no time did Carmichael ever communicate to McHugh that his

           performance was lacking, inadequate, insufficient, or less than expected.

                          15.     On August 15, 2019, during McHugh's mid-year performance review,

           Carmichael, the Chairman of the Board, President and Chief Executive Officer, told McHugh that

           he, Carmichael, would be pursuing other matters, and that he, Carmichael, promised that he would

           recommend McHugh to be the next President and Chief Executive Officer, for a term of three to five

           years, until Spence was ready for the assignment. Carmichael told McHugh that he was the most

           qualified officer on the executive team to take the President and Chief Executive Officer position,

           and that Spence was not only too young but also lacked necessary banking experience, having been

           at that point at Fifth Third only four years.

                          16.     Following an off-site meeting on August 18, 2019, Robert Shaffer ("Shaffer"),

           then the Bank's Chief Human Resources Officer, confirmed to McHugh what Carmichael had earlier

           promised him, that McHugh would be the next President and Chief Executive Officer, and confided

           to McHugh his opinion that McHugh was the most qualified executive to acquire such responsibility.

                          17.     On February 14, 2020, during his annual performance review, Carmichael told

           McHugh that the Board of Directors had requested that he extend his term for one to two years, and

           suggested to McHugh that McHugh might then be too old to hold that position, but did not indicate

           that Carmichael's change of plans would adversely impact McHugh.

                          18.     Shortly thereafter, Shaffer informed McHugh that with his then assigned

           responsibilities, he would be one of the five most-highly compensated employees at the Bank, and




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           as a Named Executive Officer, would be identified in the 2021 proxy statement issued in connection

           with the 2021 Annual Meeting of the Shareholders of Fifth Third Bank.

                          19.     In February, 2020, Carmichael requested that McHugh take on additional

           responsibility for Middle Market Banking (for companies with revenues ranging from $20 - $500

           million), and Fifth Third Insurance, resulting in McHugh having twenty direct reports, substantially

           more than any other senior executive.

                          20.     On March 9, 2020, the Bureau of Consumer Financial Protection ("CFPB")

           filed its second misconduct complaint against Fifth Third Bank, this time in Chicago, Illinois, in

           Case No. 1:20-cv-01683, asserting that the Bank had unlawfully and illegally opened deposit

           accounts in consumers' names without their authorization to do so, transferred funds from existing

           accounts to new accounts, without authorization, issued credit cards, enrolled consumers in online

           banking services, and opened lines of credit on consumers' accounts. In doing so, the CFPB alleged

           that Fifth Third Bank had engaged in repeated violations of the Consumer Financial Protection Act,

           the Truth in Lending Act, and the Truth in Savings Act, together with their implementing

           regulations, and sought injunctive and monetary relief.

                          21.     The assignment of this additional responsibility required that McHugh commit

           substantial time to resolution of then serious credit issues in the Middle Market Banking Portfolio,

           as well as supervise the Bank's SBA lending response in light of the COVID-19 pandemic. In the

           first and second iterations of the Paycheck Protection Program, Fifth Third Bank made loans of $5.5

           billion, against an average SBA loan year with $400 million extended.

                          22.     Shortly before the Board of Director meetings of September 21 and 22,

           McHugh discussed with Carmichael McHugh's presentation to the Board regarding the Bank's

           performance, and was explicitly directed by Carmichael to indicate that, across all lines of business

           for the Bank, the Regional Banking contributed 63% of the Bank's net income. This representation

           underscored the significance of McHugh's role, and reemphasized Carmichael's promise to endorse

           McHugh for the President and Chief Executive Officer position.


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                          23.     On October 13, 2020, Carmichael met with McHugh, and, for the first time,

           advised McHugh that he was to be demoted to head of Consumer Banking, a role from which he had

           previously been promoted, and was to report to Spence, who would assume McHugh's

           responsibilities for Regional Banking, and Wealth and Asset Management. McHugh was also

           informed that he would lose his responsibilities for Middle Market Banking.

                          24.     Carmichael voiced no criticism of McHugh's performance. He did not express

           any cause for such action.

                          25.     Surprised by this turn of events, McHugh inquired whether there were any

           alternatives available to him. Carmichael said that was not McHugh's only option, but offered no

           other alternatives. McHugh requested that he have a few days to consider demotion to head of

           Consumer Bank. McHugh next met with Carmichael on October 15, 2020.

                          26.     McHugh informed Carmichael that he believed that it was in the best interest

           of the Bank and its shareholders that he remain in his incumbent position. Carmichael told McHugh

           that McHugh had consistently delivered excellent results in every management position he had held.

           Carmichael said that his reputation for honesty and integrity within the Bank was unchallenged.

                          27.     Carmichael told him that his position, and most of its significant duties and

           responsibilities, were being given to Spence to enable Spence to acquire the experience he needed

           to become the next President and Chief Executive Officer. Carmichael told McHugh that he made

           the decision to advance Spence, and acknowledged that it came at McHugh's expense. Spence is

           forty-one (41) years old.

                          28.     Carmichael acknowledged that he had never suggested to McHugh that

           McHugh was no longer to be considered for President and Chief Executive Officer, and twice

           apologized that he had not discussed this with McHugh. He agreed that this change in assignment

           came at McHugh's expense, and was made to enable Spence to get the experience needed to become

           Chief Executive Officer.




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                          29.     Later that day, Shaffer called McHugh, and informed him that his only choice

           was to accept the demotion, failing which he was not to return to work. McHugh suggested he and

           Shaffer meet face to face Monday morning to discuss the matter; Shaffer told McHugh that if he did

           not accept the demotion, he should not to return to work on Monday. McHugh called Carmichael

           to confirm such an instruction; but Carmichael refused to take the call or to return the call.

           McHugh's employment with Faith Third Bank was terminated on Monday, October 26, 2020.

                          30.     On October 26, 2020, Carmichael and Fifth Third Bank announced the

           appointment of Spence as President of the Bank. Fifth Third disingenuously announced that

           McHugh had left the Bank.

                          31.     McHugh was discriminated against in his employment by the Bank because

           of his age.

                          32.     As a direct result of such discrimination, McHugh has sustained financial

           losses in base pay, variable compensation, long term incentive compensation, equity awards, stock

           options, and health care coverage for himself and his family, all to his detriment in an amount

           exceeding $12,500,000.00.

                          WHEREFORE, plaintiff demands judgment against defendants, jointly and severally,

           consistent with Civil Rule 8(A), for damages in excess of Twenty-Five Thousand Dollars

           ($25,000.00), such as will fully compensate him for the losses he has sustained as a result of such

           age discrimination, together with his fees and his costs incurred herein.



            Of Counsel for Plaintiff:                           /s/ John J. McHugh, III
                                                                John J. McHugh, III
            McHUGH & McCARTHY, LTD.                              5580 Monroe Street
             5580 Monroe Street                                  Sylvania, Ohio 43560
             Sylvania, Ohio 43560                                Telephone: (419) 885-3597
                                                                 Facsimile: (419) 885-3861
                                                                Attorney for Plaintiff




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                                                                          JURY DEMAND


                                                 Plaintiff hereby demands trial by jury on all issues properly so triable herein.


                                                                                    /s/ John J. McHugh, III
                                                                                    Attorney for Plaintiff




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